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          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
        BEFORE THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE


 NIPPON STEEL CORPORATION,

                       Plaintiff,

                v.

 UNITED STATES,
                                                               Court No. 21-00533
                       Defendant,

 NUCOR CORPORATION, STEEL
 DYNAMICS, INC. AND SSAB
 ENTERPRISES, LLC,

                       Defendant-Intervenors.



             COMMENTS ON THE U.S. DEPARTMENT OF COMMERCE’S
               REDETERMINATION PURSUANT TO COURT REMAND


       Plaintiff Nippon Steel Corporation (“NSC”) hereby submits these comments on the

Redetermination Pursuant to Court Remand filed by the U.S. Department of Commerce

(“Department”) with this Court on August 1, 2022 (“Remand Results”), ECF No. 43. These

comments are timely filed pursuant to the Court’s Order dated July 1, 2022, which provided

Plaintiff 14 days from the filing of the Department’s Remand Results to submit comments to

the Court.

       In short, NSC supports the Remand Results, which addressed the third count of

NSC’s Complaint in this case. Specifically, NSC agrees that in its Remand Results, the

Department properly corrected its calculation of NSC’s net U.S. price throughout its dumping

margin calculations by including NSC’s reported U.S. revenue for certain extra services that, as
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the Department acknowledges, were improperly excluded in the Department’s original final

results, Certain Hot-Rolled Steel Flat Products From Japan: Final Results of Antidumping

Duty Administrative Review and Final Determination of No Shipments; 2018–2019, 86 FR

47615 (Aug. 26, 2021). See Remand Results at 4-5. NSC therefore requests that the Court

sustain the Department’s Remand Results with respect to the third count of NSC’s Complaint.




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       That said, NSC maintains the other two counts of NSC’s Complaint, namely: first, the

Department’s deduction of Section 232 duties from NSC’s U.S. prices is not supported by

substantial evidence and not otherwise in accordance with law; and second, the Department’s

application of facts otherwise available with an adverse inference to certain unreported

downstream sales is not supported by substantial evidence and not otherwise in accordance with

law. NSC looks forward to the Court’s disposition of the first and second counts of NSC’s

Complaint.

                                                        Respectfully submitted,




                                                        Richard L.A. Weiner
                                                        Rajib Pal
                                                        Shawn M. Higgins
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   Dated: August 15, 2022




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